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                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
        SHAWN COOPER                                            CIVIL ACTION

        VERSUS

        TREVOR WILSON, ET AL.                                                 NO. 19-528-JWD-EWD

               This matter came on this day, September 15, 2021, for a status conference by zoom before
       District Judge John W. deGravelles. Present were Jessica M. Vasquez for Plaintiff and Ross
       Michael Molina for Defendants.
               The Defendants have filed a Consent Motion to Continue Trial, stating that the parties are

       actively engaged in settlement discussions and require additional time to complete the required

       discovery. Counsel for Plaintiff informed the Court that she and her client have been affected by

       Hurricane Ida and are still feeling some effects of the hurricane.

               All counsel agreed to attempt another settlement conference with Magistrate Judge Wilder-

       Doomes. The Court orders the parties to find some mutually available dates prior to contacting

       Magistrate Judge Wilder-Doomes’ Chambers for another settlement conference date.

               IT IS ORDERED that the Consent Motion to Continue Trial, (Doc. 26) is GRANTED. The

       3-day jury trial is reset to begin at 9:00 a.m. on June 13, 2022 in Courtroom 1.

               IT IS FURTHER ORDRED that the pretrial conference set for October 7, 2021 is

       continued and reset for 1:00 p.m. on May 10, 2022 by zoom. The pretrial order shall be filed 30

       days prior to the pretrial conference.

               IT IS FURTHER ORDERED that all deadlines associated with the December 2, 2021 trial

       date are suspended. Within 14 days of today, counsel shall submit a motion to amend the scheduling

       order that includes new proposed discovery deadlines in accordance with the June 13, 2022 trial

       date.

               Signed in Baton Rouge, Louisiana, on September 16, 2021.

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Jury                                            JUDGE JOHN W. deGRAVELLES
                                                UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF LOUISIANA
